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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                                    (Alexandria Division)

UNDER SEAL,

              Plaintiff,
                                                         Civil Action No. l:20-cv-1344
       V.



UNDER SEAL,

              Defendant.



       NOTICE OF FILING OF MOTION FOR LEAVE TO FILE UNDER SEAL
                                   AND TO SEAL CASE


       PLEASE TAKE NOTICE pursuant to Rule 5 of the Local Civil Rules of the United States

District Court for the Eastern District of Virginia that Plaintiff UNDER SEAL ("Plaintiff) has filed

a Motion to File Under Seal and to Seal Case. You have seven (7)days from the date of the filing of

the Motion to File Under Seal and to Seal Case to submit a memorandum in support of or in

opposition to the Motion to File Under Seal and to Seal Case. You may designate all or part of such

memorandum as confidential. If no objection is filed in a timely manner, then the Court may treat

the Motion to File Under Seal and to Seal Case as uncontested.

       Respectfully submitted, this the 13th day of November,2020,


                                            Bv:/s/ Cathy A. Hinser
                                            Cathy A. Hinger(VSB No.46293)
                                            Lela M. Ames(VSB No. 75932)
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